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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

ROBERT LEE BELTON, JR.,                         )
                                                )
              Petitioner,                       )
                                                )
       v.                                       )         CV 116-091
                                                )         (Formerly CR 110-251)
UNITED STATES OF AMERICA,                       )
                                                )
              Respondent.                       )


            MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


       Petitioner Robert Lee Belton, Jr., filed with this Court a motion under 28 U.S.C.

§ 2255 to vacate, set aside, or correct his sentence. The matter is now before the Court for an

initial review of Petitioner’s motion as required by Rule 4 of the Rules Governing Section

2255 Proceedings for the United States District Courts. For the reasons set forth below, the

Court REPORTS and RECOMMENDS that the § 2255 motion be DISMISSED and this

civil action be CLOSED.

I.     BACKGROUND

       On September 15, 2010, a grand jury in the Southern District of Georgia charged

Petitioner and twenty-two co-defendants in a fifty-six count indictment alleging numerous

drug and firearms offenses related to a multi-year conspiracy to sell drugs in the Augusta,

Thomson, and Atlanta, Georgia areas. United States v. Belton, CR 110-251, doc. no. 4 (S.D.

Ga. Sept. 15, 2010) (hereinafter “CR 110-251”). The Court appointed attorney James T.

Jones to represent Petitioner, and on May 5, 2011, Petitioner pleaded guilty to a lesser
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included offense of conspiracy to distribute and possess with intent to distribute controlled

substances as charged in Count One of the indictment. Id., doc. nos. 281, 585-87.

       Upon entry of the guilty plea, the United States Probation Office prepared a

Presentence Investigation Report (“PSI”) which set Petitioner’s Total Offense Level at thirty-

one, Criminal History Category at VI, and Guidelines imprisonment range at 188 to 235

months. PSI ¶¶ 35, 44, 64. Because Petitioner had two prior felony convictions involving

either a crime of violence or controlled substance offense, he was identified as a career

offender within the meaning of U.S.S.G. § 4B1.1, and the offense level under that section of

the Guidelines is thirty-two. PSI ¶ 33.

       However, because of the amount of drugs involved, and because Petitioner possessed

a dangerous weapon, the adjusted offense level of thirty-four calculated pursuant to U.S.S.G.

§ 2D1.1 was used in Petitioner’s Guidelines calculations. PSI ¶¶ 32, 33. That number was

reduced by three points to thirty-one based on Petitioner’s acceptance of responsibility. PSI

¶¶ 34, 35. Although Petitioner’s nine criminal history points established a Criminal History

Category of IV, because Petitioner was a career offender under U.S.S.G. § 4B1.1, his

Criminal History Category was set at VI. PSI ¶¶ 43, 44. The statutory maximum term of

imprisonment for Petitioner’s offense is twenty years. 21 U.S.C. §§ 841(b)(1)(C) and 846;

PSI ¶ 63.

       At sentencing on November 3, 2011, the government filed a motion for downward

departure, and United States District Judge J. Randal Hall imposed a below-Guidelines

sentence of 158 months of imprisonment. CR 110-251, doc. nos. 774-75, 779. On April 13,

2015, Judge Hall reduced Petitioner’s sentence to 127 months of imprisonment under 18



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U.S.C. § 3582(c)(2) based on a retroactively applicable change to the Guidelines. Id., doc.

no. 921.

       On June 26, 2015, the United States Supreme Court decided Johnson v. United States,

135 S. Ct. 2551 (2015). In Johnson, the Supreme Court found the “residual clause” of the

Armed Career Criminal Act, 18 U.S.C. § 924(e)(2)(B)(ii) (“ACCA”), to be void for

vagueness and a violation of the Constitution’s guarantee of due process. Johnson, 135 S.

Ct. at 2563. The “residual clause” of the ACCA violent felony definition includes a crime

that “otherwise involves conduct that presents a serious potential risk of physical injury to

another.” 18 U.S.C. § 924(e)(2)(B)(ii). In Welch v. United States, 136 S. Ct. 1257, 1265

(2016), the Supreme Court held Johnson is a substantive decision retroactive in cases on

collateral review.

       Based on these recent rulings from the Supreme Court, Petitioner filed his § 2255

motion, arguing that although he was not sentenced under the ACCA, Johnson requires that

he be resentenced with the enhancement applied under a provision of the advisory sentencing

Guidelines which contains the same language as the provision of the ACCA declared void by

the Supreme Court in Johnson. (See generally doc. no. 1.)

II.    DISCUSSION

       As explained above, Petitioner’s Offense Level was not impacted by his designation

as a career offender under U.S.S.G. § 4B1.1 because his specific offense characteristics

under U.S.S.G. § 2D1.1 required the higher level of thirty-four, rather than the thirty-two

called for under U.S.S.G. § 4B1.1. PSI ¶¶ 27,-28, 33. However, Petitioner’s Criminal

History Category did increase from IV to VI based on his designation as a career offender

under U.S.S.G. § 4B1.1. One of the crimes counted against him in the § 4B1.1 calculation

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was counted as a crime of violence. PSI ¶ 37. A “crime of violence” is defined in U.S.S.G.

§ 4B1.2(a) as a federal or state offense punishable by a term of imprisonment exceeding one

year that: “(1) has an element the use, attempted use or threatened use of physical force

against the person of another, or (2) is burglary of a dwelling, arson, or extortion, involves

the use of explosives, or otherwise involves conduct that presents a serious potential risk of

physical injury to another.” U.S.S.G. § 4B1.2(a).

       Nonetheless, Petitioner is not entitled to relief because Johnson does not apply to the

Guidelines. Although the ACCA and Guidelines “include an identical residual clause that

encapsulates crimes that ‘present[] a serious potential risk of physical injury to another[,] 18

U.S.C. § 924(e)(2)(B) [&] U.S.S.G. § 4B1.2(a)(2),” Johnson does not apply to career

offender enhancements under the sentencing guidelines. United States v. Matchett, 802 F.3d

1185, 1194 (11th Cir. 2015). This is because the vagueness doctrine under the Due Process

Clause does not apply to the sentencing Guidelines but is, instead, “limited to criminal

statutes that define elements of a crime or fix punishments.” Id. Because Petitioner’s

sentence was not based on application of the ACCA’s residual clause and the Eleventh

Circuit has determined Johnson does not apply to enhancements under the Guidelines,

Petitioner is not entitled to be resentenced without application of career offender status under

§ 4B1.1 and the applicable crime of violence definition in § 4B1.2.1 See id.; see also United

States v. Kirk, 636 F. App’x 548, 550 (11th Cir. 2016) (“[N]othing in Johnson precludes the

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         The United States Supreme Court has granted certiorari to consider whether Johnson
applies retroactively to collateral cases challenging federal sentences enhanced under the residual
clause in U.S.S.G. § 4B1.2(a)(2) and whether Johnson’s constitutional holding applies to the
residual clause in U.S.S.G. § 4B1.2(a)(2) such that a challenge to a sentence imposed under this
portion of the Guidelines is cognizable on collateral review. Beckles v. United States, 616 F.
App’x 415 (11th Cir. 2015), cert. granted No. 15-8544 (U.S. June 27, 2016).


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application of the offense level increases or enhancements in the advisory sentencing

guidelines.”).

       Because Petitioner’s claim is clearly without merit based on the current record and

Eleventh Circuit case law, his motion is ripe for dismissal under Rule 4 of the Rules

Governing Section 2255 Proceedings.

III.   CONCLUSION

       For the reasons set forth above, the Court REPORTS and RECOMMENDS that the

§ 2255 motion be DISMISSED and this civil action be CLOSED.

       SO REPORTED and RECOMMENDED this 5th day of July, 2016, at Augusta,

Georgia.




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